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     5
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     6
     7                             UNITED STATES DISTRICT COURT
     8                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
     9
                                                                                             X~
     10     JOHN DOE,an individual,                            Case No. CU~~9'~~~~~SU(lI~C~P~
     11           Plaintiff,                                           D]ORDER GRANTING
                                                               APPLICATION TO FILE
     12           v.                                           COMPLAINT AND NOTICE OF
                                                               INTERESTED PARTIES UNDER
     13     CALIFOR1vIA INSTITUTE OF                           SEAL AND TO PROCEED UNDER
            TECHNOLOGY,a nonprofit corporation,                PSEUDONYMS
~~   14     and DOES 1-20, inclusive,
     15           Defendants.
     16
     17
                  The Court has reviewed Plaintiff's Application to File the Complaint and Notice
     18
            ofInterested Parties Under Seal and to Proceed Using Pseudonyms ("Application")
     19
            and, good cause having been found,the Court has GRANTED plaintiff's Application.
     20
                  The Court further finds that good cause exists to keep the filings and pleadings
     21
            ofthis case under seal until such time as trial.
     22
                  IT IS SO ORDERED.
     23                                                            .-
     24
     25      DA
                        l~ ~                           _ '~
                                                           UNITED STATES DISTRICT JUDGE
     26
     27
     28
                                                [PROPOSED]ORDER
